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 3
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 5
     Attorney for Defendant:
 6   VALERIE WHITE
 7
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                            EASTNER DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                 )       CASE NO: 2:06-cr-0441 GEB
                                               )
11                         Plaintiff,          )       STIPULATION AND
                                               )       ORDER TO EXONERATE
12                 v.                          )       PROPERTY BOND AND
                                               )       RECONVEY REAL PROPERTY
13   POTTS, et al.                             )
                                               )
14                         Defendants.         )
                                               )
15
16          The defendant, Valerie White, by and through her attorney, William E.
17
     Bonham, and the United States hereby stipulate and request that the Court issue an
18
19   Order to exonerate the property bond securing defendant White’s pre-trial release
20
     and re-convey real property located at1736-1738 Fell Street, San Francisco, CA.
21
22   Its is further requested that the Court replace the secured property bond with an
23
     unsecured appearance bond signed by defendant White’s mother, Madie Jo White,
24
25   and her 5 siblings.
26
            On June 27, 2008 defendant White appeared in this matter before the
27
28
     Honorable Magistrate Judge Kimberly J. Mueller and was ordered released from



                                                   1
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 1   custody under the supervision of Pre-Trial Services and a $400,000.00 Property
 2   bond to be secured within 3 weeks of the date of the hearing. Pending the posting
 3
     of the secured bond defendant White, her mother, Madie Jo White, and her aunt,
 4
 5   Betty Mitchell, co-signed an unsecured $400,000.00 Property bond.
 6
           The title report, prepared by Chicago Title, showed that the property title
 7
 8   was vested in “Eunice Mitchell, Trustee under that certain Declaration of Trust,
 9
     dated May 1998.” Eunice Mitchell, the defendant’s grandmother, now deceased,
10
11   appointed in the trust, defendant’s mother, Madie Jo White and her aunt, Betty
12   Mitchell as co-trustees in substitute of her. The Deed of Trust was prepared to
13
14
     show the appointed co-Trustees as the Trustors with a copy of the Declaration of

15   Trust, dated May 18, 1998, The Property bond was signed by the appointed co-
16
     Trustees and the beneficiaries of the Trust. On October 27, 2008 the Court
17
18   received collateral to secure the bond in the form of a Deed of Trust (#2008-
19
     1665751-00) for real property 1736-1738 Fell Street, San Francisco, CA, from
20
21   Betty Mitchell and Madie Jo White.
22
           It is requested that the secured bond be replaced with an unsecured bond due
23
24   to the fact that co-Trustee Madie Jo White has filed for bankruptcy regarding a

25   small amount of credit card debt that resulted in a Bankruptcy Court action
26
     granting an Order for the sale of the real property free and clear of all liens,
27
28   including the District Court’s lien. This action was pursuant to the attached the



                                                2
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 1   ORDER GRANTING MOTION TO APPROVE THE SALE OF THE REAL
 2   PROPERTY FREE AND CLEAR OF LEINS dated July 8, 2010, case no: 05-
 3
     38123-D-7, Chapter 7 (copy of Order is attached as Exhibit A).
 4
 5         Now, in an attempt to save the property from the bankruptcy trustee sale that
 6
     would effectively remove it as security to this Court for the Property Bond , the
 7
 8   remaining sureties on the Property Bond have received approval for a loan to be
 9
     secured by the Fell Street property, to pay off the bankruptcy court claim. In
10
11   exchange Madie Jo White, has agreed to transfer her co-Trustee’s interest in the
12   property to the remaining sureties (siblings). This loan approval is condition upon
13
14
     the property being free and clear of the District Court’s Property Bond lien.

15         PTS Officer R. Basurto, has investigated the proposed sureties, Madie Jo
16
     White, Bobby Mitchell, Betty Mitchell, Will Mitchell, Eunice Rhodes, and Fulton
17
18   Mitchell, and feels they are all appropriate for co-signing purposes. Pretrial
19
     Services has no objections to the proposal as follows: To replace the $400,000
20
21   secured Property Bond with a $400,000 unsecured Appearance Bond that is to be
22
     co-signed by all six siblings and the defendant. All other pretrial conditions are to
23
24   remain in effect. PTS Officer R. Basurto has determined that defendant Valarie

25   White has been in full compliance since her release in October, 2008.
26
           Counsel has also discussed the issue with AUSA Jill Thomas who has no
27
28   objection to the proposed re-conveyance and replacement.



                                               3
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 1         Accordingly, the defense and the United States agree and stipulate that the
 2   property bond securing defendant White’s release, be exonerated and a Deed of
 3
     Re-conveyance be prepared by the Clerk of the Court to be given directly to
 4
 5   defense counsel, or his representative to expedite the recording, and that the
 6
     secured property bond is to be replaced with a $400,000.00 unsecured Appearance
 7
 8   Bond, co-signed by the defendant, her mother, Madie Jo White, her aunts Betty
 9
     Mitchell and Eunice Rhodes and her uncles, Bobby Mitchell, Will Mitchell and
10
11   Fulton Mitchell. All other pretrial conditions will remain in effect.
12
13
14
     Dated: December 22, 2010                      BENJAMIN B. WAGNER
                                                   United States Attorney
15
16                                                 By:/s/ WILLIAM E. BONHAM for
                                                   JILL THOMAS
17
                                                   Assistant U.S. Attorney
18
19
     Dated: December 22, 2010
                                                   By:/s/ WILLIAM E. BONHAM for
20                                                 WILLIAM E. BONHAM
21                                                 Counsel for Defendant
                                                   VALERIE WHITE
22
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24
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 1                                             ORDER
 2         IT IS SO ORDERED THAT, the property bond securing defendant White’s
 3
     release is exonerated and title to the real property located at 1736-1738 Fell Street,
 4
 5   San Francisco, CA be re-conveyed to Madie Jo White and Betty Mitchell, co-
 6
     Trustees. Once the Deed of Re-conveyance has been prepared, the Clerk’s office is
 7
 8   ORDERED to contact defense counsel at (916) 557-1113 to come pick it up
 9
     personally. IT IS FURTHER ORDERED THAT, the secured bond is replaced
10
11   with a $400,000.00 unsecured bond to be co-signed by the defendant, her mother,
12   Madie Jo White, her aunts Betty Mitchell and Eunice Rhodes and her uncles,
13
14
     Bobby Mitchell, Will Mitchell and Fulton Mitchell. All other Pre-trial Conditions

15   are to remain in full force and effect.
16
     Dated: December 22, 2010                        /s/ Kendall J. Newman
17
                                                     Magistrate Judge Kendall J. Newman
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